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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JACQUELINE STEVENS,                             )
                                                 )
                               Plaintiff,        )
                                                 )
                                                      No. 17 C 2494
                       v.                        )
                                                 )
                                                      Judge Lee
 UNITED STATES DEPARTMENT OF                     )
 STATE,                                          )
                                                 )
                               Defendant.        )

                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant, the United States Department of State, by John R. Lausch, Jr., United States

Attorney for the Northern District of Illinois, moves for summary judgment in its favor and against

plaintiff Jacqueline Stevens under Federal Rule of Civil Procedure 56. In support, the Department

submits the accompanying memorandum of law, Local Rule 56.1 statement of material facts, and

declarations of Eric F. Stein (with supporting exhibits) and Alesia Y. Williams.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

                                             By: s/ Alex Hartzler
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